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The Wall Street Journal

March 30, 2000 Thursday
SECTION: HEALTH; Pg. BI6
LENGTH: 225 words
HEADLINE: Warner-Lambert's Marketing Practices Are Focus of U.S. Attorney's Inquiry
BYLINE: By Emily Nelson, Staff Reporter of The Wall Street Journal

BODY:

The U.S. attorney's office in Boston is investigating Warner-Lambert Co.'s promotion of its highly successful
epilepsy drug, Neurontin, according to a Securities and Exchange Commission filing by the pharmaceuticals company.

The probe is looking into whether Warner-Lambert marketed the drug for uses other than the specific ones for
which the Food and Drug Administration approved it.

While doctors may recommend approved medicines for myriad uses, a manufacturer may not market a drug for
unapproved — or "off label” — uses.

Jason Ford, a spokesman for Warner-Lambert, declined to comment, citing the investigation. Samantha Martin,
a spokeswoman for the U.S. attorney's office, said the office would "neither confirm nor deny the existence of the
investigation."

The U.S. attorney subpoenaed certain Warner-Lambert employees in January to testify before a federal grand jury,
according to the company's 10K filing with the SEC. The company said it is cooperating with the investigation.

Neurontin, which was developed for epilepsy but is highly effective for treating neuropathic pain, owes much of its
success to off-label use, analysts say. Sales grew 78% in 1999 to $913 million from $514 million the prior year, according
to Warner-Lambert. Carl Seiden, an analyst at J.P. Morgan, estimates as much as $400 million of sales are for off-label
uses.

NOTES:
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